                                                U.S. Department of Justice


                                                United States Attorney
                                                Eastern District of New York
KCB                                             271 Cadman Plaza East
F. #2018R02184                                  Brooklyn, New York 11201



                                                April 19, 2019

By ECF

The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

             Re:    United States v. Lucio Celli
                    Criminal Docket No. 19-127 (AMD)

Dear Judge Donnelly:

               The government respectfully submits the attached stipulation and Rule
16(d)(1) protective order in connection with the above-captioned case. The government
requests that the Court enter the attached order in this matter.


                                                Respectfully submitted,

                                                RICHARD P. DONOGHUE
                                                United States Attorney

                                         By:     /s/ Kayla Bensing
                                                Kayla Bensing
                                                Assistant U.S. Attorney
                                                (718) 254-6279

Attachment

cc:   Clerk of Court (AMD) (by ECF)
      Michael Weil, Esq. (by ECF)
